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                                 GDN Leads 02
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                                                            Project
                                                           Bernanke
                                                            "Quantitative
                                                           Easing" on the
                                                            AdExchange


                                                               gTrade
                                                            Jun 27 , 2013




                                                         ATTORNEY CLIENT
                                                            PRIVILEGED




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                 Project Bernanke: Focus on the Second Bid
                 GDN is the only buyer submitting two bids to AdX. Why?
                  •   To maintain "arbitrage-free" business , keeping GDN margin<= 14%
                  •   To increase the revenue and attractiveness of AdX for publishers


                 The second bid is a huge$$$ subsidy to the publisher
                  • GDN second prices itself on 85% of winning queries
                  • Removing second bid would reduce GDN -> pub payout by 50%!

                 Bemanke: If spending huge$$$ as subsidy, spend it wisely
                  •   Reduce (or drop) second bid
                  •   Raise first bid to maintain 14% margin per web property
                       o Can increase first bid 2x-3x if dropping second bid!
                  •   Outcome
                       o Still win all queries we used to win, now with higher margin
                       o Start winning queries that even DRS lost, now with negative margin
                       o GDN profit, publisher revenue , match rate all increase




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